Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 1 of 12 PageID #:48




                     Exhibit 2
           Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 2 of 12 PageID #:49

Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has   . Registration Number
                        been made a part of the Copyright Office records.            VA 1..;942-951·
                                                                                     Effective Date ofRegistration:
                                                                                     February i 8; 2015

                        Register of Copyrights,United States of America


   Title
                          Title of Work:      CAMOUFLAGE PATTERN


   Completion/Publication
                  Year of Completion:         2005
               Date of 1st Publication:       December 31, 2005
              Nation of 1st Publication:      United States

   Author

                    •          Author: Caleb Crye
                        Author Created: 2-D artwork
                             Citizen of: United States •
                          Domiciled in: •United States
                            Year Born: 1975

   Copyright Claimant

                  Copyright Claimant:· Caleb Crye
                                       Brooklyn Navy Yard, 63 Flushing Avenue, Unit 252, Brooklyn, NY, 11205,
                                       United States                 •




    Rights and Permissions - - - - - - - - - - - - - - - - - - - - - - -
                  Organization Name:· Merchant & Gould PC
                     •         Name: Gregory ASebal4
                               Eniail: · gsebald@merchantgould.com
                           Telephone: ..·(612)332:-5300
                      Alt. Telephone: (612)336-4728
                             Address: 80 South 8th Street
                                         3200IDS Center .     .       .
                                         Minneapolis, MN 55402 United States

   Certification


                                                                                                                Page 1 of2
  Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 3 of 12 PageID #:50



                       Name:    Gregory A Sebald
                        Date:   February 18, 2015
Applicant's Tracking Number:    17333.0053lJS02


            Correspondence:     Yes




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    Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 4 of 12 PageID #:51

                      TRANSMITTAL OF CERTIFICATE OF REGISTRATION
                                 COUNTRY: United States
                                   DATE: 05/20/2014



The following trademark has issued to registration and has been docketed for renewal. Please proofread
and contact Docketing with any questions or corrections.

         ATY#l: DGE- DIANNA G. EL illOUM
         DOCKETNUMBER: 17333.0021US0I
         Client Reference:
         Trademark: MULTICAM BLACK
         Paralegal: RVC- REGINA V. CULBERT
         Application Number: N
         Application Date: 01/08/2014
         Registration Number: VA1902826
         Registration Date: 01/08/2014
         Renewal Due Date:
         Client: CRYE PRECISION, LLC
         Assignee: LINEWEIGHT, LLC
         Status: Registered


                                             Actions Docketed
Action                             Action Due Date                     Notes



                                                Class & Goods
Type       Class Number          Goods
               Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 5 of 12 PageID #:52
Certificate of Registration
                                 This Certificate issued m1der the seal of the Copyright
                               : Office in accordance with title 17, United States Code, -
                                 attests that registration has been made for the work
                                 identifi~d below, Th_e infqrmatton on this cirtificate has
                                 been made a part of the Copyright Office records.                                                                                               Registration
                                                                                                                                                                                     -     - -
                                                                                                                                                                                               Number -
                                                                                                                                                                               VA 1.,902-826
                                                                                                                                                                                          l<ffective date of •
                                                                                                                                                                                           • registi'ation:_ •
                                       Register of Copyrights, United States of America
                                                                                                                                                                                          January 8, 20i4




   Title·-----------....-----------------..................- - - -
                                            - Title of Work: -BLACK - cqlc;>r _•
  -- Completio11/Pul>lication ----------------------------...;..
                              Year_ of Cornpleti.011:               201:l                                                    •             • -         -- _ -            - -_               -• - _ :     -_   : -
                       Date of 1st Publication: November25,2013                                                                   '            Nation f)fbt Public~ti!>n: United States -

   Author
                              -•                       Author:      LineWeightLLC
                                           Autbor-Createdi 2,D artwork
                        -              '       ,   '      J   -



                              Work mad~ _for hire:                     Yes

          '   .-   '    - '    •   '           ..Citiz~n_ of: ·• Unite_d States •


  • Copyright claima11t    .- -----------------------------------------
              - Copyright Claitnant: LmeWeight LLC
                                                                   -    .         • __   '   -,   -_       -       '    -         _·       '       \    '   -   ',   '     -    -,   '.          '

  •__ _ -.___ - - •- . - -. :·- _- -__ -. __-•____ _ _• __ i:~~:JY:i.;;.;"Y Yard, 63 Flushing Aye., lJnit 252, Brooklyn, NY, 1120\

   Rightsand Permissions-•
                              Organizatlo?Name: _LineWeight, LLC
                                                       _ Name_: -Jonathan Antone, Esq.                                                                                                                              -                   -
                                                                  \_'       -·,   '           .        ;       '   •.       -.·       \_       -                                                                        '   •   .       '   •   I


                                                        Email: . jantone@cryeprecision.com                                                                                                           -Telephone:            71_8-246-3_876
                                                       Address: - Bmokl~                 Navy Y'l]'.d
                                                                  -- 63 Flushing Avenue, Unit 252
                                                                       Brooklyn, NY 1120? United Si&tes

   Certification. --
                                                        N anie: Regina Culbert _
                                                         Date:         Jrumary 8, 2014
              Applicant's Tracking Number: . i 7333.0021US0I




                                                                                                                                                                                                                                    Page I of 1
   Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 6 of 12 PageID #:53




   Registration#: VA0001902826
Service Request#: 1-1130883945




               Merchant & Gould
               Regina Culbert
               P.OBox2903
               Minneapolis, MN 55402 United States
     Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 7 of 12 PageID #:54

                      TRANSMITTAL OF CERTIFICATE OF REGISTRATION
                                 COUNTRY: United States
                                   DATE: 05/20/2014



The following trademark has issued to registration and has been docketed for renewal. Please proofread
and contact Docketing with any questions or corrections.

         ATY#l: DOE - DIANNA G. EL HIOUM
         DOCKET NUMBER: 17333.0023US01
         Client Reference:
         Trademark: TROPIC
         Paralegal: RVC- REGINA V. CULBERT
         Application Number: N
         Application Date: 01/08/2014
         Registration Number: VA1902832
         Registration Date: 01/08/2014
         Renewal Due Date:
         Client: CRYE PRECISION, LLC
         Assignee: LINEWEIGHT, LLC
         Status: Registered


                                             Actions Docketed
Action                             Action Due Date                     Notes



                                                Class & Goods •
Type       Class N nm bcr        Goods




                                                                                                         ']7,/t:, ii
               Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 8 of 12 PageID #:55
Certificate of Registration
                               This Certificate issued under the Seal of the Copyright
                               Office _in accordance with title 17, United States Code,
                               attests .that registration has been made for.the work
                               identified below. The information on this certificate has
                               been made a part ofthe Copyright Office records.                           - Registration _Number·
                                                                                                          VAl~902~832
                                                                                                              Ef:(ective_ date of •
                                                                                                                registration:
                               Register of Copyrights, United States of America
                                                                                                               Jan_uary 8, 2014




 • Title_ •...,..._..,...._______......,..............,._..,....._,..........,...,....._,.__...,..,...,,___.........,..,__,..........,..,......
                                     Title.of Work: TROPIC - color
  · Completion/Publication _..,....____..,...._ _ _ _..,............,..................,............___..,...._..,....__
                          Year of Completion: 2013
                       Date of 1st Publication: November 25, 2013 •.                     Nation oflst Publication: United Stat.es

   Author
                          _.              Autlior: LineWeight LLC

                                   AutllorCreated: 2,D artwork

                          Work made for hire: Yes
                                        Citizen of: Unitecl States_
               -               .
   Copyright. claimant
           -       •     Copyright Claimant: Line.\Veight LLC
                                                    • Brooklyn Navy Yard, 63 Fl1-15hlngAve.,Unif 252, Brooklyn, NY, 11205,
                                                      United State_s •-       •       •      • •    • • • •-       •       •

   Rights. and ~ermisSi<)llS
                        . • Organiz,itionNa11J.e: LineW~ight, LLC
                                            Name.: • Jonathan Antone, Esq.. -
                                          . Email: jantone@cryeprecision.com _                                          Telephone:     718'246°3876     -
                                                    '     ._.   .   ·-   '   '   '

                                         • Address: Brookl_yl). Navy Yard • -
                                                        63 Flushing Avenue, Unit252 - -
                                                    .    --         ,-               -      -
                                                        Brooklyn, NY) 1205 United St~tes

   Certification·
                                            N"ame: • Regina Culbert
                                            •Date: Jannary 8, 2014-
          • Applicant!s Trac~g Number:                  17333.0023US01




                                                                                                                                          Page 1 of 1
            Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 9 of 12 PageID #:56




            Registration#: VA0001902832
         Service Request#: 1-1130904301




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                        Merchant & Gould
                        Regina Culbert
                        P.OBox2903
                        Minneapolis, MN 5 5402 United States
    Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 10 of 12 PageID #:57


                      TRANSMITTAL OF CERTIFICATE OF REGISTRATION
                                 COUNTRY: United States
                                   DATE: 06/12/2014



The following trademark has issued to registration and has been docketed for renewal. Please proofread
and contact Docketing with any questions or corrections.

         ATY#l: DOE - DIANNA G. EL HIOUM
         DOCKETNUMBER: 17333.0026US01
         Client Reference:
         Trademark: ARID (COLOR)
         Paralegal: DIM - DANIELLE I. MATTESSICH
         Application Number: N
         Application Date: 01/08/2014
         Registration Number: V Al902827
         Registration Date: 01/08/2014
         Renewal Due Date:
         Client: CRYE PRECISION, LLC
         Assignee: LINEWEIGHT LLC
         Status: Registered


                                               Actions Docketed
Action                          I    Action Due Date            !     Notes



                                                Class & Goods
Type I     Class Number     j       Goods
                Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 11 of 12 PageID #:58
Certificate of Registration
                                  This Certificate issued under the seal of the Copyright
                                  Offi.ce•in accordance with title· 17, United States Code,
                                  attests that registration has been mad~ for. the work.-
                                  identified below: The information on this certificate: has
                                  been made a part of the Copyright Office. records.                                            Registration Nu~ber -
                                                                                                                             VA 1"'"902-827
                                                                                                                                    Effectiw date of •
                                                                                                                                    -.• registration: •
                                  Register of Copyrights, United States of America                                                   January 8, 2014




.         .
 - Title ·------....--...-....................................,..,.................___......,_..,.........._ _.,............;...........;..___........:..
                                       Title of Work: ARID, color. -
••. Completion/Publication
                             Year of Completion: 2013 -
                        Date oflst.Publication: November 25,20B                                      Nation oflst Pllblication: Dnited States

  .• Author
                              ■               Author: LineWeightLLC
                                  Au.thorCreated: 2-Dartwork. •

                            Worlunade fo:r hire: •Yes
                                         • Citizen of: Unitl'<l States

    Copyright claimant· -............._...,._;.;.---.,.;...........,.............,........,...;.;.........,.;,.;.......,.;......,...,..,.........,....._.....,..,.........,..,.
                            Copyright Claimimt: LineWe(ght LLC .                              ,       .                       . .
                                                          • •Btodklyn Navy Yard, 63 Flushiog Ave., Unit 252, Brooklm NY, 11205, -
                                                             Unitecl Stites J •      •      •       •      •      •  •  •      •

 -•Rights c:1nd .Permis$ions ·-
                             Organization Name: • Line.\Veight, LL¢.
                                                 Name: Jonathan Antone, Esq.
                                                Email:_ jantone@cryeprecision.com                                                                Telephm1e:           718°246-3876 . -•
                                             A<ldre.ss: • Brooklyn Navy Yard_
                                                            • 63 Flushing J\.Veµue'. Uni(252 _ _
                                                             Brooklyn, NY 11205 United States

-•-·• Certification
                                               • Name: Regina Culbert
                                                   Date: January 8, 2014
              AppJican_t•s Tracking Number: · l 7333,0026US01




                                                                                                                                                                         Page 1 of 1
  Case: 1:25-cv-02721 Document #: 1-2 Filed: 03/14/25 Page 12 of 12 PageID #:59




   Registration#: VA0001902827
Service Request#: 1-1130777731




               Merchant & Gould
               Regina Culbert
                   0


               P.O Box2903
               Minneapolis, MN 55402 United States
